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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


RAFAELA ALDACO,                                  )
                                                 )
                                                 )
                      Plaintiff,                 ) Case No. 1:16-cv-05754
                                                 )
                 v.
                                                 ) The Honorable Joan H. Lefkow
RENTGROW, INC. d/b/a Yardi Resident              )
Screening,                                       )
                                                 )
                      Defendants.                )
                                                 )
                                                 )

                         DECLARATION OF DEANNA R. KUNZE

       I, Deanna R. Kunze, do hereby declare and state the following:

       1.      I am an attorney with the law firm Nixon Peabody LLP, representing Defendant

RentGrow, Inc. d/b/a Yardi Resident Screening.

       2.      I am over 18 years of age, have personal knowledge of all facts attested to herein,

and can competently testify to the same.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of the deposition transcript

the deposition transcript of Rafaela Aldaco, taken March 21, 2017.

       4.      Attached hereto as Exhibit 2 is a true and correct copy of Plaintiff’s Initial

Disclosures dated October 3, 2016.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of Plaintiff’s Responses to

Defendant’s First Set of Interrogatories dated January 23, 2017.

       6.      Attached hereto as Exhibit 4 is a true and correct copy of Plaintiff’s Requests for

Production of Documents to Rentgrow, Inc. dated January 17, 2017.


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       7.      Attached hereto as Exhibit 5 is a true and correct copy of email correspondence

between counsel with a last sent date of January 30, 2017.

       8.      Attached hereto as Exhibit 6 is a true and correct copy of email correspondence

between counsel with a last sent date of February 15, 2017.

       9.      Attached hereto as Exhibit 7 is a true and correct copy of email correspondence

between counsel with a last sent date of March 3, 2017. Because the YRS corporate deposition

was set in just a few days and travel arrangements already made, I determined as counsel for

YRS that accommodating counsel for Plaintiff’s request would be more cost-effective (and

courteous) than attempting to re-schedule.

       10.     Attached hereto as Exhibit 8 is a true and correct copy of email correspondence

between counsel with a last sent date of March 8, 2017. This correspondence relates to re-setting

the date of Plaintiff’s deposition. Counsel for Plaintiff requested that the date be re-set during a

phone conference with counsel for YRS, on the basis that Plaintiff could not be absent from

work on the date previously set, March 14, 2017.

       11.     Attached hereto as Exhibit 9 is a true and correct copy of email correspondence

between counsel with a last sent date of April 20, 2017.

       12.     An audio recording of a person representing that she is Rafaela Aldaco was

produced in this litigation as RG 000509, and will be referred to herein as Exhibit 10.1 As

counsel for YRS, I took the depositions of both Plaintiff and of Rachel Paul, who worked at

Fellowship Housing Corporation regarding Plaintiff’s application to its program. Based upon

my familiarity with the voice of both Plaintiff and Ms. Paul, it is my belief that the voice on RG

000509 is that of Rachel Paul.

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  RG 000509 was produced to counsel for Plaintiff on April 25, 2017. A true and correct copy of the
recording of RG 000509 will be delivered to chambers with a courtesy copy of this document and the
underlying motion.

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       13.     Attached hereto as Exhibit 11 is a true and correct copy of the time and

attendance records for R. Aldaco, Bates labeled CPS 000039-CPS 000042.

       14.     Attached hereto as Exhibit 12 is a true and correct copy of email correspondence

between counsel with a last sent date of March 29, 2017. As counsel for YRS, I previously had

requested on multiple occasions to counsel for Plaintiff that Plaintiff reduce the number of

witnesses they intended to call at trial in order to reduce costs. This email correspondence

represents the last time the issue was raised. Each of these witnesses testified only about the

damages, generally the emotional distress, that Plaintiff allegedly suffered.

       14.      I am informed that during the deposition of the representative from Window

Works, that representative testified that Plaintiff had been terminated for problems that included

improper use of company resources (she used company credit at a restaurant without

authorization) and crediting herself with commissions that should have been assessed to other

employees. In order to limit expenses, YRS did not order the transcript from this deposition, as

the testimony was not required for summary judgment briefing; the testimony only would have

been necessary in preparing for and conducting trial. Should the Court require this transcript for

its decision, YRS can order it.



       I declare under penalties as provided by law that the statements set forth in this

instrument are true and correct.



       EXECUTED this 13th day of April, 2018, in Chicago, Illinois.



                                      __/s/ Deanna R. Kunze___________________
                                      Deanna R. Kunze

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                                    CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing Declaration of Deanna R. Kunze was filed

electronically on this 13th Day of April, 2018, in compliance with the General Order on

Electronic Case Filing, Section III(B)(1). As such, this document was served on all counsel who

are deemed to have consented to electronic service. Fed. R. Civ. P. 5(b)(2)(E) and Local Rule

5.9.




                                               By: /s/ Deanna R. Kunze




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